Case 19-41126-drd13          Doc 42      Filed 08/21/19 Entered 08/21/19 14:29:45              Desc Main
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               WESTERN DISTRICT OF MISSOURI

 IN RE:          Justin Eugene Farris                     )
                                                          )      Case No.           19-41126
                                                          )
                                              Debtor(s)   )

                                         OBJECTION TO CLAIM

          Comes now Movant, Justin Eugene Farris and hereby objects to the Proof of Claim filed by
 creditor, Home Point Financial Corporation, in the amount of $325,452.43 filed on July 3, 2019. The
 court claim number is 3-1.

         Your claim may be reduced, modified, or eliminated. You should read this document
 carefully and discuss it with your attorney, if you have one.

          PURSUANT TO LOCAL RULE 3007-1 (C), THE CLAIMANT SHALL HAVE 30 DAYS
          AFTER SERVICE OF THE OBJECTION IN WHICH TO FILE A RESPONSE, IF YOU DO
          NOT WANT THE COURT TO ELIMINATE OR CHANGE YOUR CLAIM. THE RESPONSE
          SHALL BE IN WRITING AND STATE WHY THECLAIM SHOULD BE ALLOWED AS
          FILED. IF A RESPONSE IS FILED, THECOURT WILL SCHEDULE A HEARING. IF NO
          TIMELY RESPONSE IS FILED, THE COURT WILL ENTER AN ORDER SUSTAINING
          THE OBJECTION TO THECLAIM. PARTIES NOT REPRESENTED BY AN ATTORNEY
          SHALL MAIL A RESPONSE TO THE COURT AT THE ADDRESS BELOW. DEBTOR(S)
          NOT REPRESENTED BY AN ATTORNEY MUST BE SERVED A COPY OF THE
          RESPONSE BY MAIL. IF YOUR RESPONSE IS MAILED, IT MUST BE EARLY ENOUGH
          SO THAT THE COURT WILL RECEIVE IT ON OR BEFORE 30 DAYS AFTER SERVICE
          OF THE OBJECTION.

 The basis for the objection is as follows:

         Home Point Financial Corporation filed a Proof of Claim on July 3, 2019 which listed the regular
 monthly mortgage payment at $1,568.23 and the arrears at $14,803.62. Upon review of the supporting
 documentation for the proof of claim, it was discovered Home Point Financial Corporation inputted the
 principle and interest, monthly escrow, and private mortgage insurance data collected from another
 customers loan. Page 4 of the proof of claim discloses the mortgage arrears and the regular monthly
 mortgage payment using the supporting documents provided specifically on page 32 and 33 of the Proof
 of Claim. Those amounts are incorrect as they belong to a different customer. Upon further review of
 page 6 of the Proof of Claim it shows that the correct ongoing monthly mortgage payment is $2,609.68
 and the correct arrears is $20,076.80. The proof of claim should be amended to reflect the correct
 numbers.


 Date: August 21, 2019
                                                          Respectfully submitted,

                                                          /s/ Jason G. Roach_________________
                                                          Jason G. Roach #51302
                                                          Roach Bankruptcy Center, LLC
                                                          851 NW 45th Street, Suite 208
                                                          Gladstone, MO 64116
                                                          Phone: 816-454-5555
                                                          Fax: 816-817-7733
                                                          E-mail: roachbankruptcy@gmail.com
                                                          Attorney for the Debtors
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                                       CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a true and correct copy of the foregoing was served, in
 addition to the parties notified by the U.S. Bankruptcy Court’s electronic notification, upon the affected
 creditors and other parties in interest, via U.S. Postal Service, first class, postage pre-paid, on this 21st
 day of August, 2019.

 Justin Eugene Farris
 7731 North Kansas Avenue
 Kansas City, MO 64119

 Millsap & Singer LLC
 612 Spirit Drive
 Chesterfield MO 63005-0000

 Home Point Financial Corporation
 PO Box 790309
 Saint Louis MO 63179-0309

 Home Point Financial Corporation
 PO Box 619063
 Dallas TX 75261-9063

 Home Point Financial Corporation
 Att: Correspondence
 11511 Luna Road
 Suite 300
 Dallas TX 75234-0000

 Home Point Financial Corporation
 Att: Loss Drafts
 5225 Crooks Road
 Troy MI 48098-2823

 Home Point Financial Corporation
 Att: Payment Processing
 Box: 790309
 1005 Convention Plaza
 Saint Louis MO 63101-0000

 Home Point Financial Corporation
 11511 Luna Road
 Suite 200
 Dallas TX 75234-0000

 Home Point Financial Corporation
 IS AOA/ATIMA
 PO Box 5017
 Troy MI 48007-0000

 Home Point Financial Corporation
 CSC-Lawyers Incorporating Service
 Company - Registered Agent
 221 Bolivar Street
 Jefferson City MO 65101-0000
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 Home Point Financial Corporation
 William Andrew Newman, President
 2211 Old Earhart Road
 Suite 250
 Ann Arbor MI 48105-0000

 Sottile and Barile, LLC
 394 Wards Corner Road
 Suite 180
 Loveland, OH 45140


                                                      /s/ Jason G. Roach_________________
                                                      Jason G. Roach #51302

 Court address: U.S. Bankruptcy Court, 400 E. 9th St., Room 1510, Kansas City, MO 64106
